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               United States Court of Appeals
                              For the First Circuit
 No. 18-1637

        GARRICK CALANDRO, as Administrator of the Estate of Genevieve Calandro,

                                   Plaintiff - Appellant,

                                             v.

                 SEDGWICK CLAIMS MANAGEMENT SERVICES, INC.,

                                   Defendant - Appellee.



                                       MANDATE

                                   Entered: April 8, 2019

        In accordance with the judgment of March 18, 2019, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                           By the Court:

                                           Maria R. Hamilton, Clerk


 cc:
 Michael F. Aylward
 Robert Ambrose Curley Jr.
 Robert E. Curtis Jr.
 Allen N. David
 David John Hoey
 Jane Audrey Horne
 Daniel Thomas Landry
 Catherine Marie Scott
